             Case 1:24-cv-06848-KPF                     Document 120       Filed 01/10/25      Page 1 of 2



Docusign Envelope ID: 4052E737-7282-4937-A463-9027CCA02B31




             UNITED ST ATES DISTRICT COURT
             SOUTHERN DISTRICT OF NEW YORK


             DAWN ANGELIQUE RICHARD,

                                                             Plaintiff,

                                           V.


              SEAN COMBS, HARVE PIERRE, REMOTE
              PRODUCTIONS INC, NEW REMOTE
              PRODUCTIONS INC, THE NORDLINGER
              GROUP LLC, NOVEMBER 15 LLC, DADDY'S
              HOUSE RECORDING STUDIO, BAD BOY                             Case No.: 1:24-cv-06848 (KPF)
              ENTERTAINMENT LLC, BAD BOY RECORDS
              LLC, BAD BOY ENTERTAINMENT HOLDINGS                         STIPULATION AND ORDER FOR
              INC, BAD BOY PRODUCTIONS HOLDINGS                           SUBSTITUTION OF COUNSEL
              INC, BAD BOY BOOKS HOLDINGS INC, THE
              SEAN COMB MUSIC INC, SEAN COMBS
              CAPITAL LLC, COMBS ENTERPRISES, LLC,
              UNIVERSAL MUSIC GROUP NV, INTERSCOPE
              GEFFEN A&M RECORDS, COMBS WINES AND
              SPIRITS LLC, JANICE COMBS PUBLISHING
              INC, JANICE COMBS PUBLISHING HOLDINGS
              INC, DOE CORPORATIONS 1-10, AND DOE
              DEFENDANTS 11-20,

                                                       Defendants.


                     WHEREAS, Defendant Bad Boy Records LLC ("BBRLLC") has been named as a

            defendant in the above-captioned Action; and

                     WHEREAS, attorneys from the law fim1 of Sher Tremonte LLP ("Sher Tremonte"),

            specifically Erica A. Wolff and Michael Tremonte, have appeared on behalf of BBRLLC in this

            Action; and

                     WHEREAS, BBRLLC now wishes to substitute the law firm of Pryor Cashman LLP

            ("Pryor Cashman"), specifically Donald S. Zakarin, William L. Charron and Nicholas G. Saady,

            as its new counsel of record in place and instead of Sher Tremonte; and
            Case 1:24-cv-06848-KPF                     Document 120     Filed 01/10/25        Page 2 of 2



Docusign Envelope ID: 4052E737-7282-4937-A463-9027CCAD2B31




                     WHEREAS, Sher Tremonte has agreed to such substitution;

                     NOW, THEREFORE, it is hereby stipulated and agreed by and between the undersigned

             counsel and BBRLLC that, pursuant to Local Civil Rule 1.4 of the United States District Court for

             the Southern District ofNew York, Pryor Cashman shall be and is hereby substituted in lieu of

             Sher Tremonte as counsel ofrecord for BBRLLC.

                     IT IS FURTHER AGREED that this Stipulation may be executed in counterparts.

             Dated: January 8, 2025




         Tu!lff!?=
            William L. Charron
            Nicholas G. Saady
                                                                 Michael Tremonte


            PRYOR CASHMAN LLP                                    SHER TREMONTE LLP
            7 Times Square, 41st Floor                           90 Broad Street, 23rd Floor
            New York, New York 10036                             New York, New York 10004
            Tel: (212) 421-4100                                  Tel: (212) 202-2600
            dzakarin@pryorcashman.com                            ewolff@shertremonte.com
            wcharron@pryorcashman.com                            mtremonte@shertremonte.com
            nsaady@pryorcashman.com

            Bad Boy Records, LLC
                  GDocuSigned b�:


            By: ��..�ML'v
            Name: Enca Bellarosa,
            Title: Head ofBusiness Affairs and General Counsel for Atlantic
            Recording Corporation, and Authorized Officer ofBBRLLC



            Dated:              January 10, 2025                       SO ORDERED.
                                New York, New York



                                                                       HON. KATHERINE POLK FAILLA
                                                                       UNITED STATES DISTRICT JUDGE
